               Case 2:11-cr-00056-KJM Document 42 Filed 12/13/11 Page 1 of 3


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 4   Attorney for Defendant
     BINH LAM
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:11-CR-00056 LKK
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   ALEX LIAO, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff;
18   Michael E. Hansen, attorney for defendant Binh Lam; Matthew Scoble, attorney for defendant
19   Alex Liao; and Dwight Samuel, attorney for defendant Ken Wong, that the previously-
20   scheduled status conference date of December 13, 2011, be vacated and the matter set for
21   status conference on February 28, 2012, at 9:150 a.m.
22          This continuance is requested to allow counsel additional time to review discovery with
23   the defendants, to examine possible defenses and to continue investigating the facts of the case.
24   Additionally, defendant Binh Lam has ovarian cancer, is currently undergoing radiation and
25   chemotherapy treatment and is, therefore, unable to attend the scheduled status conference on
26   December 13, 2011.
27          The Government concurs with this request.
28          Further, the parties agree and stipulate the ends of justice served by the granting of such


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     Stipulation and Order to Continue Status Conference
               Case 2:11-cr-00056-KJM Document 42 Filed 12/13/11 Page 2 of 3


 1   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
 2   that time within which the trial of this case must be commenced under the Speedy Trial Act
 3   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 4   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 5   stipulation, December 9, 2011, to and including February 28, 2012.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7          IT IS SO STIPULATED.
 8   Dated: December 9, 2011                               Respectfully submitted,
 9                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
10                                                         Attorney for Defendant
                                                           BINH LAM
11
     Dated: December 9, 2011                               /s/ Michael E. Hansen for
12                                                         MATTHEW SCOBLE
                                                           Attorney for Defendant
13                                                         ALEX LIAO
14   Dated: December 9, 2011                               /s/ Michael E. Hansen for
                                                           DWIGHT SAMUEL
15                                                         Attorney for Defendant
                                                           KEN WONG
16
     Dated: December 9, 2011                               BENJAMIN B. WAGNER
17                                                         United States Attorney
18                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
19                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
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21                                                ORDER
22          The Court, having received, read, and considered the stipulation of the parties, and
23   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
24   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
25   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
26   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
27   specifically finds that the failure to grant a continuance in this case would deny defense
28   counsel to this stipulation reasonable time necessary for effective preparation, taking into


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     Stipulation and Order to Continue Status Conference
               Case 2:11-cr-00056-KJM Document 42 Filed 12/13/11 Page 3 of 3


 1   account the exercise of due diligence. The Court finds that the ends of justice to be served by
 2   granting the requested continuance outweigh the best interests of the public and the defendants
 3   in a speedy trial.
 4           The Court orders that the time from the date of the parties’ stipulation, December 9,
 5   2011, to and including February 28, 2012, shall be excluded from computation of time within
 6   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
 7   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to
 8   prepare). It is further ordered that the December 13, 2011, status conference shall be continued
 9   until February 28, 2012, at 9:15 a.m.
10           IT IS SO ORDERED.
11   Dated: December 12, 2011
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     Stipulation and Order to Continue Status Conference
